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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE


_________________________________________
                                          )
RODERICK WEBBER,                          )
                                          )
                        Plaintiff         )
                                          )
                                          )
      v.                                  )                         Case No. 1:18-cv-00931-LM
                                          )
                                          )
EDWARD DECK, ET AL.,                      )
                                          )
                        Defendants        )
_________________________________________ )


                               CAMPAIGN DEFENDANTS’
                           ASSENTED-TO MOTION TO DISMISS


       Defendants Donald J. Trump, Donald J. Trump for President, Inc., Edward Deck, XMark,

LLC, and Rep. Fred Doucette (the “Campaign Defendants”), respectfully move the court, with

plaintiff’s assent and pursuant to the terms of the settlement agreement between plaintiff and the

Campaign Defendants, to dismiss plaintiff’s claims against the Campaign Defendants with

prejudice. The Campaign Defendants represent to the court that they have fully performed their

obligations under the settlement agreement and that the agreement provides that upon completion

of their performance they will seek dismissal with prejudice by assented-to motion.




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                                              Respectfully submitted,

                                              Donald J. Trump,
                                              Donald J. Trump for President, Inc.,
                                              Edward Deck, XMark, LLC,
                                              and Rep. Fred Doucette,

                                              By Their Attorneys,

Date: December 31, 2020                              /s/ Bryan K. Gould
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                                CERTIFICATE OF SERVICE

        I hereby certify that the within pleading is being served electronically upon the persons
listed below through the court’s ECF system.

       Christian Hinrichsen, Esq.
       Samantha D. Elliott, Esq.
       Adam B. Pignatelli, Esq.
       Jonathan S. Spaeth, Esq.
       Peter Cowan, Esq.
       Chloe F. Golden, Esq.
       Roderick Webber (pro se)

Date: December 31, 2020                             /s/ Bryan K. Gould
                                              Bryan K. Gould, Esq.




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